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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

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                                                             :
In re                                                        :       Chapter 11
                                                             :
PHOENIX SERVICES TOPCO LLC, et al., :                                Case No. 22–10906 (MFW)
                                                             :
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                  Debtors.                                   :       (Jointly Administered)
                                                             :
                                                             :       Obj. Deadline: May 2, 2023 at 4:00 p.m. (ET)
                                                             :       Hearing Date: May 9, 2023 at 3:00 p.m. (ET)
                                                             :
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                                 NOTICE OF MOTION AND HEARING

                   PLEASE TAKE NOTICE that on April 18, 2023, the above-captioned debtors

(collectively, the “Debtors”), filed the Motion of Debtors for Entry of Order (I) Approving Proposed

Disclosure Statement and Form and Manner of Notice of Disclosure Statement Hearing, (II)

Establishing Solicitation and Voting Procedures, (III) Scheduling Confirmation Hearing, (IV)

Establishing Notice and Objection Procedures for Confirmation of Proposed Plan, and (V) Granting

Related Relief (the “Motion”) with the United States Bankruptcy Court for the District of Delaware

(the “Court”).

                   PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion

must be in writing and filed with the Clerk of the Court, 824 North Market Street, 3rd Floor,

Wilmington, Delaware 19801 on or before May 2, 2023 at 4:00 p.m. (prevailing Eastern Time).




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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Phoenix Services Topco, LLC (4517); Phoenix Services Parent, LLC (8023); Phoenix Services
    Holdings Corp. (1330); Phoenix Services International LLC (4693); Metal Services LLC (8793); Terracentric
    Materials LLC (0673); Cool Springs LLC (8687); Metal Services Investment LLC (2924); and Phoenix Receivables,
    LLC (not applicable). The Debtors’ mailing address is 4 Radnor Corporate Center, Suite 520, 100 Matsonford Road,
    Radnor, PA 19087.

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                   PLEASE TAKE FURTHER NOTICE that if any objections to the Motion are

 received, the Motion and such objections shall be considered at a hearing before The Honorable

 Mary F. Walrath, United States Bankruptcy Judge for the District of Delaware, at the Court, 824

 North Market Street, 5th Floor, Courtroom 4, Wilmington, Delaware 19801 on May 9, 2023 at 3:00

 p.m. (prevailing Eastern Time).

                   PLEASE TAKE FURTHER NOTICE THAT, IF NO OBJECTIONS TO THE

MOTION ARE TIMELY FILED IN ACCORDANCE WITH THIS NOTICE, THE COURT

MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER

NOTICE OR HEARING.




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      Dated: April 18, 2023        /s/ Matthew P. Milana
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